                               UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


BRITTANY BURK, on behalf of herself and all others               Case No. 4:19-cv-663
similarly situated,
                                                                 PLAINTIFF’S ORIGINAL CLASS
                        Plaintiff,                               ACTION COMPLAINT

                   v.                                            JURY TRIAL DEMANDED

DIRECT ENERGY, LP,

                        Defendant.




            Plaintiff, Brittany Burk, individually and on behalf of all others similarly situated, alleges

on personal knowledge, investigation of her counsel, and on information and belief as follows:

                                          NATURE OF ACTION

            1.     Plaintiff brings this case against Defendant Direct Energy (“Direct”) for violations

of the Telephone Consumer Protection Act, 47 U.S.C. § 227, and the Federal Communications

Commission (“FCC” or “Commission”) rules promulgated thereunder, 47 C.F.R. § 64.1200

(hereinafter referred to as the “TCPA”).

            2.     Defendant has violated the TCPA by making calls to Plaintiff’s and Class

Members’ cellular telephones using an “artificial or prerecorded voice” and/or an “automatic

telephone dialing system” (“ATDS”), without Plaintiff’s and Class Members’ “prior express

consent” within the meaning of the TCPA. Defendant’s conduct includes making such illegal

debt collection calls to a Subclass of non-customers of Defendant who owe no debt to Defendant.

            3.     Plaintiff therefore brings this action for injunctive relief and statutory damages to

hold Defendant accountable for its illegal activities in utilizing prerecorded messages and/or




1697321.3
automatically dialed debt collection calls to persons who never gave their prior express consent

to receive such calls.

                                   JURISDICTION AND VENUE

            4.    This matter in controversy exceeds $5,000,000, as each member of the proposed

Class and Subclass of thousands is entitled to up to $1,500 in statutory damages for each call that

has violated the TCPA.       Further, Plaintiff alleges a national class, which will include at least

one Class member who is a citizen of a different state. Accordingly, this Court has jurisdiction

pursuant to 28 U.S.C. § 1332(d)(2).

            5.    This Court also has federal question jurisdiction pursuant to 28 U.S.C. § 1331.

            6.    This Court has personal jurisdiction over Defendant because it is a citizen of

Texas and because the conduct at issue in this case occurred in, among other locations, Texas.

            7.    Venue is proper because a substantial portion of the events complained of

occurred in this District.

                                               PARTIES

            8.    Plaintiff Brittany Burk is, and at all times mentioned herein was, an individual

Citizen of the State of Texas residing in the City of Mabank.

            9.    Defendant Direct is a Texas utility company with its headquarters in Houston,

Texas.

THE TELEPHONE CONSUMER PROTECTION ACT OF 1991 (TCPA), 47 U.S.C. § 227

            10.   In 1991, Congress enacted the TCPA in response to a growing number of

consumer complaints regarding certain telemarketing practices.

            11.   The TCPA regulates, among other things, the use of artificial or prerecorded

messages and automated telephone equipment, or “autodialers.” Specifically, the plain language

of section 227(b)(1)(A)(iii) prohibits the use of prerecorded messages or autodialers to make any



1697321.3                                          -2-
call to a wireless number in the absence of an emergency or the prior express consent of the

called party.

            12.   As the FCC has explained, Congress prohibited prerecorded and automated

telephone calls because it considered such calls to be costly, inconvenient, and a greater nuisance

and invasion of privacy than live solicitation calls. The FCC also recognized that wireless

customers are charged for incoming calls whether they pay in advance or after the minutes are

used.1 Courts have long held that that a “called party” under the TCPA is the recipient of the

call, not the party the caller was intending to reach.2

            13.   On January 4, 2008, the FCC released a Declaratory Ruling wherein it confirmed

that autodialed and prerecorded message calls to a wireless number by a creditor (or on behalf of

a creditor) are permitted only if the calls are made with the “prior express consent” of the called

party.3 The FCC “emphasize[d] that prior express consent is deemed to be granted only if the

wireless number was provided by the consumer to the creditor, and that such number was

provided during the transaction that resulted in the debt owed.”4

            14.   Under the TCPA and pursuant to the FCC’s January 2008 Declaratory Ruling, the

burden is on Defendant to demonstrate that Plaintiff, Class Members, and Subclass Members

gave their prior express consent to receive a prerecorded or an autodialed call to their cellular

telephones.




1
  In re Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Rcd 14,014
(2003) (“2003 FCC Declaratory Ruling”).
2
  See, e.g., Osorio v. State FAssetCare Bank, F.S.B., 746 F.3d 1242, 1251 (11th Cir. 2014); Soppet v.
Enhanced Recovery Co., LLC, 679 F.3d 637, 638-39 (7th Cir. 2012).
3
  In re Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 23 FCC Rcd. 559, 564-
65 at ¶ 10 (2008) (“2008 FCC Declaratory Ruling”).
4
  Id.




1697321.3                                         -3-
            15.   The TCPA defines an ATDS as “equipment which has the capacity—(A) to store

or produce telephone numbers to be called, using a random or sequential number generator; and

(B) to dial such numbers.”5 This statutory language dictates that “the term ‘automatic telephone

dialing system’ means equipment which has the capacity—(1) to store numbers to be called or

(2) to produce numbers to be called, using a random or sequential number generator—and to dial

such numbers automatically (even if the system must be turned on or triggered by a person).”

Marks v. Crunch San Diego, LLC, 904 F.3d 1041, at 1053 (9th Cir. 2018) (emphasis supplied).6

            16.   The 2003 FCC order defined a predictive dialer as “an automated dialing system

that uses a complex set of algorithms to automatically dial consumers’ telephone numbers in a

manner that ‘predicts’ the time when a consumer will answer the phone and a telemarketer will

be available to take the call.”7 The FCC concluded that “[t]he basic function of such

equipment . . . [is] the capacity to dial numbers without human intervention.”8 A 2008

Declaratory Ruling “affirm[ed] that a predictive dialer constitutes an automatic telephone dialing

system and is subject to the TCPA’s restrictions on the use of autodialers.”9 And in yet another

order issued in 2012, the FCC again reiterated that the TCPA’s definition of an ATDS “covers

any equipment that has the specified capacity to generate numbers and dial them without human

intervention regardless of whether the numbers called are randomly or sequentially generated or


5
  47 U.S.C. § 227(b)(1)(A)(iii).
6
  In the past, the FCC has held that this definition is satisfied when a dialing system has the capacity to
call “a given set of numbers” or when “dialing equipment is paired with . . . a database of numbers.”
2003 FCC Declaratory Ruling, 18 FCC Rcd. 14,014, ¶ 133; see also 2008 FCC Declaratory Ruling,
23 F.C.C. Rcd. at 566 (rejecting argument that a dialing system “meets the definition of autodialer only
when it randomly or sequentially generates telephone numbers, not when it dials numbers from customer
telephone lists” and reasoning that “the teleservices industry had progressed to the point where dialing
lists of numbers was far more cost effective”).
7
  2003 FCC Declaratory Ruling, 18 FCC Rcd. at 14,143 n.31.
8
  Id. at 14,092.
9
  2008 FCC Declaratory Ruling, 23 FCC Rcd. 559.




1697321.3                                           -4-
come from calling lists.”10 In 2018, a decision struck down portions of a 2015 FCC Order, but

“the prior FCC Orders are still binding.”11

            17.   Courts have also held that, based on the TCPA’s statutory language, a predictive

dialing system constitutes an ATDS under the TCPA. See, e.g., Marks, 904 F.3d at 1051

(“Although Congress focused on regulating the use of equipment that dialed blocks of sequential

or randomly generated numbers—a common technology at that time—language in the statute

indicates that equipment that made automatic calls from lists of recipients was also covered by

the TCPA.”) (emphasis supplied); accord Soppet, 679 F.3d at 638-39.

            18.   The FCC’s 2003 Declaratory Ruling confirmed that the TCPA’s definition of a

“call,” for purposes of the limitations on the use of an autodialer, “encompasses both voice calls

and text calls to wireless numbers including, for example, short message service (SMS) calls.”12

                                    FACTUAL ALLEGATIONS

            19.   Defendant has conducted a wide-scale calling campaign repeatedly making

unsolicited debt collection calls to the cellular telephones of persons who did not give Defendant

their prior express consent to receive prerecorded and automated calls. Defendant does not

verify the accuracy of consumers’ contact information or “scrub” cell phone numbers using any

of the available services to comply with the TCPA. As a result, Defendant has placed thousands

of harassing debt collection calls to Class Members who never gave prior express consent and to

Subclass Members who owe Defendant no debt.




10
   In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 FCC Rcd. 15,391,
15,399 (2012).
11
   Reyes v. BCA Fin. Servs., Inc., Case No. 16-24077-CIV, 2018 WL 2220417, at *11 (S.D. Fla. May 14,
2018).
12
    2003 FCC Declaratory Ruling, 18 FCC Rcd. at 14,115.




1697321.3                                         -5-
            20.   Plaintiff is, and at all times mentioned herein was, a “person” as defined by

47 U.S.C. § 153(39).

            21.   Beginning in or around December of 2018, Plaintiff began receiving numerous

prerecorded messages, autodialed calls, and text messages, on her cellular phone ((XXX) XXX-

8680) from Defendant. When Plaintiff did not pick up the phone, Defendant left a voicemail

informing Plaintiff that she should call Defendant back regarding an electric bill. There was at

least one number that appeared in Plaintiff’s caller ID for these calls: 817-601-1048. This

number appears to be associated with Defendant. For example, when this number is called, a

pre-recorded message answers “Hi, you’ve reached Direct Energy.”

            22.   Plaintiff believes she has received at least to ten (10) calls from Defendant over

the past couple of months. Plaintiff can identify calls received on the following dates: December

26, 2018, December 28, 2018, and December 29, 2018. Plaintiff received calls on other dates

from Defendant. The information concerning the exact dates and times of those other calls is

within Defendant’s possession.




1697321.3                                          -6-
            23.   In addition, Plaintiff received various text messages from Defendant, including

but not limited to, the following messages:




            24.   Direct is, and at all times mentioned herein was a “person,” as defined by

47 U.S.C. § 153(39).

            25.   In receiving unwanted and unsolicited calls on her cellular telephone, Plaintiff

suffered concrete harm in the form of lost time spent fielding the unwanted calls and attempting




1697321.3                                          -7-
to get Defendant to stop the calls, loss of use of her cellular telephone as the calls came in, and

the invasion of privacy and intrusion upon her seclusion.

            26.   Telephone calls placed by Defendant utilized a prerecorded message, as defined

by 47 U.S.C. § 227(a)(1). Indeed, when Plaintiff answered some of the calls in order to tell

Defendant to stop calling, there was no live representative on the line. Rather, Plaintiff heard a

prerecorded message with a robotic voice informing Plaintiff that she was receiving this call in

regards to an account purportedly serviced by Direct.

            27.   All telephone contact made by Direct to Plaintiff on her cellular telephone

occurred via predictive dialer. The indicia that Defendant used a predictive dialer include the

large volume of calls, the long pause before each call was connected, and the continued calls

even after Plaintiff instructed Defendant to stop calling. These factors indicate that Defendant

used an autodialer that automatically called Plaintiff from a stored list of numbers.

            28.   Plaintiff’s telephone number called by Defendant was assigned to a cellular

telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

            29.   Plaintiff did not provide her “prior express consent” allowing Direct to place

telephone calls and/or text messages to Plaintiff’s cellular phone utilizing an “automatic dialing

system” and/or prerecorded messages within the meaning of 47 U.S.C. § 227(b)(1)(A). Indeed,

Plaintiff is not a customer and/or debtor of Direct. In fact, the prerecorded messages playing on

Direct’s calls appeared to be for someone other than Plaintiff – a person whom Plaintiff did not

know and with whom Plaintiff had no connection whatsoever. On information and belief, the

calls were intended for someone other than Plaintiff.

            30.   On one occasion, Plaintiff was connected with one of Defendant’s representatives

wherein she requested that Direct stop calling her and explained to the Direct representative that




1697321.3                                         -8-
Direct was calling the wrong number. The Direct representative assured Plaintiff this would not

happen again. However, Defendant continued to call Plaintiff’s cellular phone anyway.

            31.   The telephone calls made to Plaintiff’s cellular phone by Defendant were not “for

emergency purposes” as described in 47 U.S.C. § 227(b)(1)(A).

            32.   The telephone calls to Plaintiff’s cellular phone made by Defendant, which

utilized prerecorded messages and an “automatic telephone dialing system” for non-emergency

purposes and in the absence of Plaintiff’s prior express consent, violated 47 U.S.C.

§ 227(b)(1)(A).

            33.   Under the TCPA and pursuant to the FCC’s January 2008 Declaratory Ruling, the

burden is on Defendant to demonstrate that Plaintiff provided it with prior express consent within

the meaning of the statute.13

                                 CLASS ACTION ALLEGATIONS

            34.   Plaintiff brings this action on behalf of herself and on behalf of all other persons

similarly situated (hereinafter referred to as “the Class”).

            35.   Plaintiff proposes the following Class definition, subject to amendment as

appropriate:

                  All persons in the United States to whom Defendant placed an
                  artificial or prerecorded voice call or an automatic telephone
                  dialing system call, and who did not provide the cellular phone
                  number called on any initial application for Defendant’s service,
                  from four years prior to the date of this complaint through the date
                  of class certification.

Collectively, all these persons will be referred to as “Class members.”

            36.   Plaintiff proposes the following Subclass definition, subject to amendment as

appropriate:

13
     See 2008 FCC Declaratory Ruling, 23 FCC Rcd. at 565 ¶ 10.




1697321.3                                          -9-
                  All persons in the United States to whom Defendant placed an
                  artificial or prerecorded voice call or an automatic telephone
                  dialing system call, who did not provide the cellular phone number
                  called on any initial application for Defendant’s service, and who
                  never entered into any contract with Defendant, from four years
                  prior to the date of this complaint through the date of class
                  certification.

Collectively, all these persons will be referred to as “Subclass Members.”

            37.   Plaintiff represents, and is a member of, the Class and the Subclass. Excluded

from the Class are Defendant and any entities in which Defendant has a controlling interest,

Defendant’s agents and employees, any Judge to whom this action is assigned and any member

of such Judge’s staff and immediate family, and claims for personal injury, wrongful death

and/or emotional distress.

            38.   Plaintiff does not know the exact number of members in the Class and Subclass,

but on information and belief, the number of Class and Subclass members at minimum is in the

thousands.

            39.   Plaintiff and all members of the Class and Subclass have been harmed by the acts

of Defendant, including, but not limited to, the invasion of their privacy, annoyance, waste of

time, depletion of their cellular phone battery, and the intrusion on their cellular telephone that

occupied it from receiving legitimate communications.

            40.   This Class Action Complaint seeks injunctive relief and money damages.

            41.   The joinder of all Class and Subclass members is impracticable due to the size

and relatively modest value of each individual claim. The disposition of claims in a class action

will provide substantial benefit to the parties and the judicial economy of the Court in avoiding a

multiplicity of identical suits. The Class and Subclass can be identified easily through records

maintained by Defendant.




1697321.3                                        -10-
            42.   There are well-defined, nearly identical, questions of law and fact affecting all

Class and Subclass members. The questions of law and fact involving the Class and Subclass

claims predominate over questions which may affect individual Class and Subclass members.

Those common questions of law and fact include, but are not limited to, the following:

                  a.     Whether non-emergency calls made to Plaintiff and Class and Subclass

members’ cellular telephones used an artificial or prerecorded voice and/or an automatic

telephone dialing system;

                  b.     Whether such calls were made by Defendant;

                  c.     Whether Defendant can meet its burden of showing it obtained prior

express consent (i.e., consent that is clearly and unmistakably stated) to make such calls;

                  d.     Whether Defendant’s conduct was knowing and/or willful;

                  e.     Whether Defendant is liable for damages, and the amount of such

damages; and

                  f.     Whether Defendant should be enjoined from engaging in such conduct in

the future.

            43.   As a person who received numerous and repeated telephone calls using an

automatic telephone dialing, without her prior express consent within the meaning of the TCPA

and Rules, Plaintiff asserts claims that are typical of each Class and Subclass member. Plaintiff

will fairly and adequately represent and protect the interests of the Class and Subclass, and has

no interests which are antagonistic to any member of the Class and Subclass.

            44.   Plaintiff has retained counsel experienced in handling class action claims

involving violations of federal and state consumer protection statutes, including claims under the

TCPA.




1697321.3                                         -11-
            45.    A class action is the superior method for the fair and efficient adjudication of this

controversy. Class-wide relief is essential to compel Defendant to comply with the TCPA. The

interest of Class and Subclass members in individually controlling the prosecution of separate

claims against Defendant is small because the statutory damages in an individual action for the

violation of the TCPA are small. Management of these claims is likely to present significantly

fewer difficulties than are presented in many class claims because the calls at issue are all

automated and prerecorded and the Class and Subclass members did not provide prior express

consent, as required under the statute, to authorize such calls to their cellular telephones.

            46.    Defendant has acted on grounds applicable to the Class and Subclass, thereby

making final injunctive relief and corresponding declaratory relief with respect to the Class and

Subclass as a whole appropriate. Moreover, on information and belief, Plaintiff alleges that the

TCPA violations complained of herein are substantially likely to continue in the future if an

injunction is not entered.

                                         CAUSES OF ACTION

                                  FIRST CLAIM FOR RELIEF
            Knowing and/or Willful Violations of the Telephone Consumer Protection Act
                                         (47 U.S.C. § 227)

            47.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully stated herein.

            48.    The foregoing acts and omissions of Defendant constitute numerous and multiple

knowing and/or willful violations of the TCPA, including but not limited to each of the above

cited provisions of 47 U.S.C. § 227.

            49.    As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227,

Plaintiff and each member of the Class and Subclass are entitled to treble damages of up to

$1,500 for each and every violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).



1697321.3                                           -12-
            50.    Plaintiff and all Class and Subclass members are also entitled to and do seek

injunctive relief prohibiting such conduct violating the TCPA by Defendant in the future.

Plaintiff and Class and Subclass members are also entitled to an award of attorneys’ fees and

costs.

                                  SECOND CLAIM FOR RELIEF
                   Statutory Violations of the Telephone Consumer Protection Act
                                           (47 U.S.C. § 227)

            51.    Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.

            52.    The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the TCPA, including but not limited to each of the above-cited provisions of

47 U.S.C. § 227.

            53.    As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff and Class and

Subclass members are entitled to an award of $500 in statutory damages for each and every

violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

            54.    Plaintiff and Class and Subclass members are also entitled to and do seek

injunctive relief prohibiting Defendant’s violation of the TCPA in the future. Plaintiff and Class

and Subclass members are also entitled to an award of attorneys’ fees and costs

                                       PRAYER FOR RELIEF

            WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff and all Class

and Subclass members the following relief against Defendant:

            A.     Injunctive relief prohibiting such violations of the TCPA by Defendant in the

future;




1697321.3                                          -13-
            B.   As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.

§ 227(b)(1), Plaintiff seeks for herself and each Class and Subclass member treble damages, as

provided by statute, of up to $1,500 for each and every violation of the TCPA;

            C.   As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks for

herself and each Class and Subclass member $500 in statutory damages for each and every

violation of the TCPA;

            D.   An award of attorneys’ fees and costs to counsel for Plaintiff and the Class and

Subclass;

            E.   An order certifying this action to be a proper class action pursuant to Federal Rule

of Civil Procedure 23, establishing an appropriate Class and Subclass, finding that Plaintiff is a

proper representative of the Class and any Subclass, and appointing the lawyers and law firms

representing Plaintiffs as counsel for the Class and Subclass; and

            F.   Such other relief as the Court deems just and proper.

DATED: February 25, 2019              Respectfully submitted,

                                      LIEFF CABRASER, HEIMANN & BERNSTEIN, LLP

                                      By:                   /s/ Nimish R.. Desai
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1697321.3                                        -14-
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1697321.3             -15-
